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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA


 Brandon Ehlis, on behalf of himself and all
 others similarly situated                         CLASS ACTION COMPLAINT

                   Plaintiff                       JURY TRIAL DEMANDED
 v.
 DAP Products, Inc.,
                   Defendant

       Plaintiff, by and through undersigned Counsel, brings this action on his own behalf

and on behalf of the Class defined below against DAP Products, Inc. (“DAP” or

“Defendant”). The Plaintiff alleges upon facts and information and belief as follows.

                                      INTRODUCTION

       1.      Plaintiff brings claims against DAP on behalf of a class action consumers

who purchased DAP 3.0 “Crystal Clear” Kitchen, Bathroom and Plumbing Sealant (“DAP

Clear Sealant”).

       2.      Defendant manufactures, advertises, sells, and distributes DAP Clear Sealant

throughout the United States for use in kitchens and bathrooms.

       3.      DAP claims both in its advertisements and in the very name of the product

that DAP Clear Sealant is “crystal clear.” However, contrary to the product name and

DAP’s representations, DAP Clear Sealant turns yellow within several weeks to months of

its application.

       4.      Despite years of customer feedback regarding the product’s discoloration

defect, DAP continues to market and advertise that DAP Clear Sealant is clear. DAP makes

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these assertions on its packaging, in advertising, in its technical product bulletins, and in

information displayed to customers on its website.

       5.     Defendant’s misrepresentations regarding its product’s clarity caused

Plaintiff to pay significantly more for DAP Clear Sealant than he would have otherwise.

Plaintiff’s experience with DAP Clear Sealant and his injuries caused by DAP’s

misrepresentations are typical of a class of consumers who purchased DAP Clear Sealant.

                                         PARTIES

A.     Plaintiff

       6.     Plaintiff Brandon Ehlis is and was, at all times material herein, a resident of

the State of Minnesota. Plaintiff purchased DAP Clear Sealant from Home Depot within

the Class Period that yellowed shortly after application. Plaintiff Ehlis suffered injury as a

result of Defendant’s conduct alleged herein.

B.     Defendant

       7.     DAP Products, Inc. is a Delaware corporation headquartered in Baltimore,

Maryland. It is a subsidiary of parent company RPM, a publicly-traded American

multinational company headquartered in Medina, Ohio. DAP is, per its own parent

company, the #1 Caulk & Sealant Supplier in North America.

                              JURISDICTION AND VENUE

       8.     This Court has jurisdiction over the instant lawsuit pursuant to 28 U.S.C.

§ 1332(d)(2), because the parties are sufficiently diverse, there are more than 100 members

in the class and the aggregate amount in controversy exceeds $5,000,000, exclusive of

attorneys’ fees, interest, and costs.


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       9.      This Court has personal jurisdiction over the Defendant because it conducts

substantial and continuous business in the State of Minnesota.

       10.     Venue is proper in this district pursuant to 28 U.S.C. §1391(a) and (b)

because a substantial part of the events or omissions that give rise to the claims occurred

within the State of Minnesota and the Defendant conducts a substantial part of its business

within this District.

                               FACTUAL ALLEGATIONS

       11.     Purchasers use sealant products to create watertight seals around tile, sinks,

and other bathroom and kitchen fixtures.

       12.     Because the sealant installed in kitchens and bathrooms is often visible, the

color of a sealant is one of the primary features that consumers use when choosing between

products. As a result, sealants come in many colors. For example, on Home Depot’s

website under the Kitchen and Bathroom Sealant Category, customers can choose among

the following colors: Almond, Clear, Crystal Clear, and White.

       13.     DAP 3.0 Crystal Clear Kitchen, Bath and Plumbing Sealant, as its name

indicates, is a sealant product manufactured by DAP that is used in bathroom and kitchens.

       14.     DAP heavily advertises that this sealant is “crystal clear” and that “[t]he

Crystal Clear clarity allows the beauty of the surface to shine through the sealant.”1




1
  DAP Technical Bulletin, DAP 3.0 Kitchen, Bath & Plumbing Caulk with Microban
Antimicrobial Product Protection – Crystal Clear, p.1, https://images.homedepot-
static.com/catalog/pdfImages/7b/7ba5f042-13f5-4586-b448-b398baa3941c.pdf.

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       15.     DAP’s advertisements for the DAP Clear Sealant emphasize the product’s

ability to “do the job right the first time” and claims that the product is “formulated to stand

the test of time.”2

       16.     DAP’s advertising of DAP Clear Sealant also claims the product is “clearer

than silicone.”3 The product is labeled with “Crystal Clear” twice at the very top of the

packaging, as seen below:




    I. Defendant Has Been Aware of DAP Clear Sealant’s Yellowing Defect for
       Years.



2
  https://www.homedepot.com/p/DAP-3-0-9-oz-Crystal-Clear-Kitchen-Bath-and-Plumbing-
Sealant-00795/100662614 (see video in item description) (last visited July 21, 2020).
3
  Id.

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      17.     Contrary to DAP’s statements regarding DAP Clear Sealant’s clarity and

coloration, users of the sealant have been unpleasantly surprised when the sealant yellows

quickly—anywhere from weeks to months—after being installed around kitchen and

bathroom fixtures. Customers describe the discolored DAP Clear Sealant as “amber”,

“yellow”, “urine yellow”, and “the most awful yellow color you’ve ever seen.”

      18.     Defendant has known since at least 2012 that DAP Clear Sealant tended to

yellow and did not remain “crystal clear.” Consumer reviews of the product have

consistently and frequently discussed the discoloration issue for nearly a decade.

Furthermore, DAP representatives responded to many reviews concerning the product’s

discoloration and requested customers provide additional information, indicating that DAP

was on notice of the yellowing defect. The following are a sample of reviews for DAP

Clear Sealant over several years:




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       19.     Plaintiff Ehlis purchased DAP Clear Sealant because of its assertion that the

sealant was “crystal clear.” However, consistent with the complaints above, Plaintiff’s

DAP sealant yellowed after several months of the sealant’s application. Plaintiff either

would not have purchased DAP Clear Sealant or would have paid less than he did had DAP

disclosed the potential for discoloration.

II.    Defendant Made Efforts to Conceal the Defective Nature of DAP Clear
       Sealant By Diluting Negative Customer Reviews.

       20.     After several years of its customers leaving overwhelmingly negative

reviews calling attention to the product’s discoloration defect, Defendant continued to

market DAP Clear Sealant as “Crystal Clear.” Rather than changing its marketing or

addressing the discoloration defect by changing the product’s formula, DAP instead diluted

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the negative reviews in an attempt to mislead consumers as to the color of DAP Clear

Sealant.

       21.     On Home Depot’s product page for DAP Clear Sealant, between June 2010

and February 2018, there were approximately 32 reviews. Out of these reviews, there were

only five positive reviews that did not mention a discoloration issue.4 The remaining

reviews were for one star, and the majority of these reviews mentioned the discoloration

defect with DAP Clear Sealant.

       22.      Beginning in or around March 2018, DAP ran a promotion where DAP

would send individuals samples of DAP Clear Sealant in exchange for a review shortly

after receiving the product. Through this promotion, DAP obtained a substantial number

of positive reviews. These uncharacteristically positive reviews are densely clustered in

March and April 2018. In these two months alone, DAP collected 35 positive reviews—

six times the previous number of positive reviews from the past eight years—that were

written because of the promotion.5

       23.     The short time frame in which these promotional reviews were collected

demonstrates the Defendant deliberately collected reviews that written before the yellow

discoloration would occur and therefore schemed to collect misleading and inaccurate




4
 There were two additional four-star reviews that recognized the yellowing defect
manifesting in the customer’s product.
5
  The reviews written as part of DAP’s promotion were identifiable by explicit disclosures that
they were written as part of a promotion.


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reviews. Through its efforts, DAP created a false impression as to the quality of DAP Clear

Sealant.

       24.       A consumer’s primary source of knowledge about the accuracy of the

“crystal clear” claim is DAP’s marketing materials and other consumers’ reviews on

DAP’s and retailers’ websites. Because of DAP’s inaccurate advertisements and its scheme

to produce misleading positive reviews, both sources of product information offered false

information about the quality of DAP Clear Sealant.

       25.       Through the aforementioned conduct, Defendant deliberately misled

consumers about the true nature and quality of DAP Clear Sealant.

                            CLASS ACTION ALLEGATIONS

       26.       Plaintiff brings all claims herein pursuant to Fed. R. Civ. P. 23. The

requirements of Fed. R. Civ. P. 23 are all satisfied with respect to the class defined below

(the “Class”):

                 All persons and entities in the United States who, during
                 the Class Period from August 31, 2014 until the present,
                 purchased DAP 3.0 Crystal Clear Kitchen, Bath and
                 Plumbing Sealant for their own use and not for resale.

       27.       Excluded from the Class are Defendant, any entities in which Defendant has

a controlling interest, any of Defendant’s parents, subsidiaries, affiliates, officers, directors,

employees and members of such persons immediate families, and the presiding judge(s) in

this case and his, her, or their immediate family.




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A.     The Proposed Class Satisfies the Rule 23(a) Prerequisites.

       28.     Numerosity: At this time, Plaintiff does not know the exact size of the Class.

However, due to the nature of the trade and commerce involved, Plaintiff believes that the

Class members are at least well into the thousands, and thus are so numerous that joinder

of all members is impractical. The number and identities of Class members is

administratively feasible and can be determined through appropriate discovery in the

possession of the Defendant.

       29.     Commonality: There are questions of law or fact common to the Class,

which include but are not limited to the following:

               a.     Whether DAP Clear Sealant is subject to yellowing after application;

               b.     Whether Defendant knew, or should have known, of the defective

                      nature of DAP Clear Sealant before making it available for purchase

                      and use by the Plaintiff and the Class;

               c.     Whether Defendant failed to disclose to Plaintiff and the Class the

                      defective nature of DAP Clear Sealant;

               d.     Whether Defendant had a duty to Plaintiff and the Class to disclose

                      the true nature of DAP Clear Sealant;

               e.     Whether the facts not disclosed by Defendant to Plaintiff and the Class

                      are material facts;

               f.     Whether Defendant represented to Plaintiff and the Class that DAP

                      Clear Sealant was of a different quality and coloration than the sealant

                      actually was;


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               g.     Whether Defendant knew, or should have known, that DAP Clear

                      Sealant would yellow and otherwise is not as represented by

                      Defendant;

               h.     Whether Defendant intended Plaintiff and members of the Class to

                      rely on the statements regarding DAP Clear Sealant’s “Crystal Clear”

                      clarity and coloration;

               i.     Whether Plaintiff and members of the Class were harmed by

                      Defendant’s misrepresentations;

               j.     Whether Plaintiff and the Class have been damaged, and if so, the

                      proper measure of damages; and

               k.     Whether Defendant should be enjoined from continuing to market

                      DAP Clear Sealant using misleading misrepresentations and omission

                      of material facts.

       30.     Typicality: The claim of the representative Plaintiff is typical of the claims

of the Class, because, among other things, all Class members were comparably injured

through Defendant’s wrongful conduct as described above.

       31.     Adequacy of Representation: Plaintiff is committed to pursuing this action

and has retained counsel competent and experienced in prosecuting and resolving

consumer class actions. Plaintiff will fairly and adequately represent the interests of the

Class and does not have any interests adverse to those of the Class.




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B.     The Proposed Class Satisfies the Rule 23(b)(2) Prerequisites for Injunctive
       Relief.

       32.     Defendant has acted or refused to act on grounds generally applicable to the

Class thereby making appropriate final injunctive and equitable relief with respect to the

Class as a whole. Plaintiff remains in the market for sealants; and there is no way for him

to know when or if Defendant has ceased misrepresenting the clarity and coloration of DAP

Clear Sealant products, and there is therefore in danger of being harmed again.

       33.     Specifically, Defendant should be ordered to cease from using further

advertisements and product information that inaccurately states the clarity and coloration

of DAP Clear Sealant.

       34.     Defendant’s ongoing and systematic practices make declaratory relief with

respect to the Class appropriate.

C.     The Proposed Class Satisfies the Rule 23(b)(3) Prerequisites for Damages.

       35.     The common questions of law and fact enumerated above predominate over

questions affecting only individual members of the Class, and a class action is the superior

method for fair and efficient adjudication of the controversy. The likelihood that individual

members of the Class will prosecute separate actions is remote due to the extensive time

and considerable expense necessary to conduct such litigation, especially when compared

to the relatively modest amount of monetary, injunctive, and equitable relief at issue for

each individual Class member.

       ESTOPPEL FROM PLEADING THE STATUTE OF LIMITATIONS




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       36.     Defendant knew or reasonably should have known that DAP Clear Sealant

was defective before its sale. Defendant intentionally concealed material truths concerning

DAP Clear Sealant from the general public and members of the Classes, while continuing

to falsely represent the DAP Clear Sealant was “Crystal Clear” and fit for its intended use.

       37.     Defendant affirmatively represented to the general public that DAP warrants

the performance of DAP Clear Sealant “for sealant purposes during the lifetime of

[consumers’] home.” This “Lifetime Guarantee” is prominently placed on the front of the

product packaging, as well as in the promotional material and in the product’s technical

bulletin and is not tied to any one particular claim. Through these representations,

Defendant created a reasonable expectation among ordinary consumers and in the

construction trades that DAP Clear Sealant’s touted features—including its coloration—

would last at least several years, if not far longer.

       38.     Defendant’s acts of fraudulent concealment also include, but are not limited

to, using improper tactics to mislead consumers’ expectations in order to obscure the true

nature of DAP Clear Sealant’s coloration defect.

       39.     Based upon Defendant’s misrepresentations and concealment, Defendant is

equitably estopped from asserting a statute of limitations defense.

       40.     Alternatively, to the extent that Defendant pursued a common policy of

denying warranty claims or other consumer complaints about DAP Clear Sealant through

improper tactics that made it near impossible for Plaintiff and the Class to assert their rights

in a timely manner, Defendant is equitably estopped from asserting a statute of limitations

defense.


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                                    COUNT I
     Unfair or Deceptive Trade Practices – Maryland Consumer Protection Act
                   (“MCPA”) – Md. Com. Law §§ 13-301, et seq.

       41.     Plaintiff realleges the foregoing paragraphs as if fully set forth herein.

       42.     Plaintiff and members of the Class are “consumers” within the meaning of

the MCPA, Md. Com. Law § 13-101(c).

       43.     The DAP Clear Sealant sold by Defendant is a “consumer good” as defined

by the MPCA, Md. Com. Law § 13-101(d).

       44.     Defendant is a person as defined in the MPCA, Md. Com. Law § 13-101(h).

       45.     Defendant, by making prominent claims regarding the “Crystal Clear” finish

of DAP Clear Sealant, misrepresented the clarity and coloration of the sealant. The false

statements of the color and clarity of the DAP Clear Sealant were untrue, misleading, and

deceptive, inducing Plaintiff to purchase a product that was of a significantly poorer quality

than what was advertised.

       46.     Defendant’s misrepresentations of the clarity and coloration of its product is

a material fact to Plaintiff and other consumers because it is directly related to the quality

of such a product and one of principal reasons for purchasing the product. Defendant

recognizes the materiality of its representations as evidenced by the “Crystal Clear” claim’s

prominent placement on Defendant’s labels, packaging, brochures, and other promotional

materials.

       47.     Defendant placed the false “Crystal Clear” claim on its packaging, in

advertisements, and in technical bulletins related to the DAP Clear Sealant, intending that




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consumers would rely on those misrepresentations and purchase the sealant from

Defendant.

       48.     Defendant schemed to artificially increase the number of positive reviews of

DAP Clear Sealant by setting up a promotion to provide free samples to individuals who

would submit a review within a short time period. Through this promotional structure, DAP

ensured that reviewers had not yet experienced the product’s discoloration. This effort by

Defendant to dilute the overwhelmingly negative reviews of DAP Clear Sealant and

increase the positive reviews of the product constitutes a fraudulent scheme that materially

misled consumers as to the quality of the product.

       49.     Plaintiff and the Class were harmed by Defendant’s misrepresentations.

Consumers, including Plaintiff and the members of the Class would either have not

purchased DAP Clear Sealant, or else would not have paid as much for the DAP Clear

Sealant had Defendant accurately disclosed the clarity and coloration issues.

       50.     Plaintiff and members of the Class have suffered loss by paying more than

they would have otherwise paid—and more than Defendant would have been able to

charge—for the DAP Clear Sealant and by receiving a product of a lower quality than they

were promised by Defendant.

                                       COUNT II
                               Breach of Express Warranty
                                 Md. Com. Law § 2-313

       51.     Plaintiff realleges the foregoing paragraphs as if fully set forth herein.

       52.     An express warranty is created by a seller to a buyer by any affirmation of

fact or promise made by the seller to the buyer which relates to the goods and becomes part


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of the basis of the bargain, or by any description of the goods which is made part of the

basis of the bargain, inter alia.

       53.     As described herein, Defendant placed the false statements regarding DAP

Clear Sealant’s clarity and coloration in advertisements, on its packaging, and in Technical

Bulletins, intending that consumers would rely on those misrepresentations and purchase

DAP Clear Sealant.

       54.     Defendant’s false statements regarding DAP Clear Sealant’s clarity and

coloration became a basis of the bargain, and Plaintiff and members of the Class expected

that the sealant that they purchased would conform to Defendant’s affirmations of the

clarity and coloration.

       55.     Furthermore, Defendant affirmatively represented to the general public that

DAP warranted the performance of DAP Clear Sealant “for sealant purposes during the

lifetime of your home.” Through these representations, Defendant created a reasonable

expectation among ordinary purchasers that DAP Clear Sealant’s touted features—

including its coloration—would last at least several years, if not far longer. Plaintiff and

the Class were harmed by Defendant’s misrepresentations and purchased the DAP Clear

Sealant.

       56.     Had Defendant disclosed the true quality and coloration of the DAP Clear

Sealant, Plaintiff and members of the Class would not have purchased the sealant, or else

would not have been willing to pay as much for the sealant.




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       57.     Plaintiff and members of Class have suffered loss by paying more than they

would have otherwise paid for the DAP Clear Sealant and by receiving Sealant without the

characteristics than they were promised by Defendant.

                                       COUNT III
                               Breach of Implied Warranty
                                 Md. Com. Law § 2-314

       58.     Plaintiff realleges the foregoing paragraphs as if fully set forth herein.

       59.     DAP Clear Sealant is subject to implied warranty of merchantability, as

defined in 15 U.S.C. § 2308 and Md. Com. Law, § 2-314, running from the Defendant to

the Plaintiff and the class.

       60.     Every sale of consumer goods shall be accompanied by the manufacturer’s

and the retail seller’s implied warranty that that the goods are merchantable which includes

that the goods are fit for their ordinary purposes for which such goods are used, pass

without objection in the trade under the contract description, and conform to the promises

or affirmations of fact made on the container or label.

       61.     As described herein, the DAP Clear Sealant sold to Plaintiff and members of

the Class was not as described by Defendant in the contract description. Had the true and

accurate clarity and coloration of the product been known, it would not have passed without

objection in the trade and consumers would not have purchased the sealant, or would have

been willing to pay less, because the sealant did not comply with the contract descriptions,

which described the sealant as being “crystal clear” despite the product’s tendency to

yellow quickly.




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       62.     Clear sealant products are specifically selected by consumers who wish to

use such products to make a near-invisible seal around various fixtures and plumbing,

making such use the ordinary purpose of the products. Because the coloration and clarity

of the DAP Clear Sealant is different than described, the sealant purchased by Plaintiff and

members of the Class are unfit for that ordinary purpose.

       63.     As described herein, the sealant sold to Plaintiff and members of the Class

did not conform to the promises or affirmations of fact made on the packaging and labels

associated with the sealant. The advertising, packaging, and technical bulletin contain

representations that the product is “crystal clear” despite the product yellowing within a

short span of time after application.

       64.     Plaintiff and the members of the Class were harmed by these implied

warranties by purchasing the DAP Clear Sealant.

       65.     As a result of Defendant’s breaches of its implied warranties of

merchantability, Plaintiff and members of the Class have been injured. Had Defendant

disclosed the true quality and coloration characteristics of the DAP Clear Sealant, Plaintiff

and members of the Class would not have purchased the sealant, or else would not have

been willing to pay as much for the sealant.

                                   COUNT IV
 Violation of Minnesota’s Prevention of Consumer Fraud Act – Unlawful Practices,
                           Minn. Stat. §§ 325F.68, et seq.

       66.     Plaintiff realleges the foregoing paragraphs as if fully set forth herein.

       67.     The DAP Clear Sealant sold by Defendant is merchandise as defined in

Minnesota Statutes § 325F.68, subd. 2.


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       68.     Defendant is a person as defined in Minnesota Statutes § 325F.68, subd. 3.

       69.     Defendant, by making prominent claims regarding the “Crystal Clear” finish

of DAP Clear Sealant, misrepresented the clarity and coloration of the sealant. The false

statements of the color and clarity of the DAP Clear Sealant were untrue, misleading, and

deceptive, inducing Plaintiff to purchase a product that was of a significantly poorer quality

than what was advertised.

       70.     Defendant’s misrepresentations of the clarity and coloration of its product is

a material fact to Plaintiff and other consumers because it is directly related to the quality

of such a product and one of principal reasons for purchasing the product. Defendant

recognizes the materiality of their representations as evidenced by the “Crystal Clear”

claim’s prominent placement on Defendant’s labels, packaging, brochures, and other

promotional materials.

       71.     Defendant placed the false “Crystal Clear” claim on its packaging, in

advertisements, and in technical bulletins related to the DAP Clear Sealant, intending that

consumers would rely on those misrepresentations and purchase the sealant from

Defendant.

       72.     Defendant schemed to artificially increase the number of positive reviews of

DAP Clear Sealant by setting up a promotion to provide free samples to individuals who

would submit a review within a short time period. Through this promotional structure, DAP

ensured that reviewers had not yet experienced the product’s discoloration. This effort by

Defendant to dilute the overwhelmingly negative reviews of DAP Clear Sealant and




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increase the positive reviews of the product constitutes a fraudulent scheme that materially

misled consumers as to the quality of the product.

       73.      Plaintiff and the Class were harmed by Defendant’s misrepresentations.

Consumers, including Plaintiff and the members of the Class would either have not

purchased DAP Clear Sealant, or else would not have paid as much for the DAP Clear

Sealant had Defendant accurately disclosed the clarity and coloration issues.

       74.      Plaintiff and members of the Class have suffered loss by paying more than

they would have otherwise paid—and more than Defendant would have been able to

charge—for the DAP Clear Sealant and by receiving a product of a lower quality than they

were promised by Defendant.

                                       COUNT V
             Violation of Minnesota’s Uniform Deceptive Trade Practices Act,
                              Minn. Stat. §§ 325D.43, et seq.

       75.      Plaintiff realleges the foregoing paragraphs as if fully set forth herein.

       76.      As described herein, Defendant made false claims regarding DAP Clear

Sealant’s clarity and coloration in advertisements and product information. Defendant

represented that the DAP Clear Sealant was of a particular standard, quality, quantity, and

grade when the sealant was in fact of a lower standard, quality, quantity, and grade. By

representing that the sealant product was “Crystal Clear”, Defendant misled Plaintiff and

members of the Class into believing that the sealant would remain clear and that the sealant

was of a higher quality than it actually was. Additionally, DAP’s scheme to dilute the

number of negative reviews of DAP Clear Sealant materially misled consumers as to the

quality of the product.


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       77.     Plaintiff and members of Class have suffered loss by paying more than they

would have otherwise paid for DAP Clear Sealant and by receiving a sealant product of

lower quality than they were promised by Defendant.

                                      COUNT VI
               Violations of the Minnesota Unlawful Trade Practices Act,
                                  Minn. Stat. § 325D.13

       78.     Plaintiff realleges the foregoing paragraphs as if fully set forth herein.

       79.     Minnesota Stat. § 325D.13 provides: “No person shall, in connection with

the sale of merchandise, knowingly misrepresent, directly or indirectly, the true quality,

ingredients or origin of such merchandise.”

       80.     Defendant is a “person” within the meaning of Minn. Stat. § 325D.10.

       81.     Defendant knowingly misrepresented directly to Plaintiff and consumers the

true quality of their merchandise, in advertising and selling its merchandise, by falsely

making claims regarding DAP Clear Sealant’s clarity and coloration. By representing that

the sealant product was “Crystal Clear”, Defendant misled Plaintiff and members of the

Class into believing that the sealant would remain clear and that the sealant was of a higher

quality than it actually was, and Defendant thus violated Minn. Stat. § 325D.13.

       82.     Additionally, DAP schemed to dilute the negative reviews of DAP Clear

Sealant, causing Plaintiff and Class members to wrongly believe that DAP Clear Sealant

was a quality product.

       83.     Plaintiff and members of Class have suffered loss by paying more than they

would have otherwise paid for DAP Clear Sealant and by receiving a product of a lower

quality than they were promised by Defendant.


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                                     COUNT VII
           Breach of Warranty Pursuant to the Magnuson-Moss Warranty Act
                               15 U.S.C. §§ 2301, et seq.

       84.     Plaintiff realleges the foregoing paragraphs as if fully set forth herein.

       85.     The Plaintiff and class members are “consumers” as identified in 15 U.S.C.

§ 2301(3).

       86.     Defendant is a “supplier” and “warrantor” as defined in 15 U.S.C. §§ 2301(4)

and (5).

       87.     DAP Clear Sealant is a “consumer product” as defined in 15 U.S.C. §

2301(6). 15 U.S.C. § 2310(d)(1) provides a cause of action for any consumer who is

damaged by the failure of a warrantor to comply with a written or implied warranty.

       88.     15 U.S.C. § 2304(a)(1) requires Defendant, as a warrantor, to remedy any

defect, malfunction or nonconformance of the DAP Clear Sealant within a reasonable time

and without charge to the Plaintiff and class members.

       89.     As a result of Defendant’s breaches of written and implied warranties, and

Defendant’s failure to remedy the same within a reasonable time and without charge to

Plaintiff and class members, Plaintiff and class members have suffered damages.

                                       COUNT VIII
                                     Unjust Enrichment

       90.     Plaintiff realleges the foregoing paragraphs as if fully set forth herein.

       91.     As described herein, Defendant made false claims regarding DAP Clear

Sealant’s clarity and coloration in advertisements and product information, intending that

consumers would rely on those misrepresentations and purchase the sealant from



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Defendant. DAP also misled consumers by its scheme to dilute the number of negative

reviews of DAP Clear Sealant.

       92.     Had Defendant disclosed the true quality and coloration characteristics of the

DAP Clear Sealant, Plaintiff and members of the Class would not have purchased the

sealant, or else would not have been willing to pay as much for the sealant.

       93.     Defendant generated profits from misleading Plaintiff and members of the

Class into purchasing DAP Clear Sealant.

       94.     Defendant has been knowingly and unjustly enriched at the expense of and

to the detriment of Plaintiff and the members of the Class by collecting excess profits to

which Defendant is not entitled.

       95.     Defendant’s    actions   were        unjust   because,   absent   the   material

misrepresentations about the clarity and coloration of the DAP Clear Sealant, it would not

have been able to receive as much money for the sealant as it did, and as Plaintiff paid due

to the false statements.

       96.     Defendant has unjustly retained those ill-gotten profits and should be

required to disgorge this unjust enrichment.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Class, requests relief as

follows:

       1.      Certification of the Class as defined herein pursuant to Fed. R. Civ. P. 23(a)

and 23(b)(1), (b)(2), (b)(3), or a combination of subsections;




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       2.     Appointment of Plaintiff as Class Representative and the undersigned

counsel as Class Counsel;

       3.     Restitution of all charges paid by Plaintiff and members of the Class because

of Defendant’s deceptive business practices as described herein;

       4.     Disgorgement and restitution to Plaintiff and to members of the Class of all

monies wrongfully obtained and retained by Defendant;

       5.     Compensatory and actual damages in an amount according to proof at trial;

       6.     Statutory damages and penalties, as provided by law;

       7.     Prejudgment interest commencing on the date of payment of the charges and

continuing through the date of entry of judgment in this action;

       8.     Costs and fees incurred in connection with this action, including attorneys’

fees, expert witness fees, and other costs, as provided by law; and

       9.     Such other and further relief as the Court deems just and proper.

                              DEMAND FOR JURY TRIAL

       Plaintiff demands a trial by jury on all issues so triable.

Dated: August 31, 2020                      Respectfully submitted,

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